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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CRIMINAL NO. 21-cr-670
                v.                           :
                                             :
STEPHEN K. BANNON,                           :
                                             :
                        Defendant.           :

 UNITED STATES’ OBJECTIONS TO COURT’S PROPOSED STATEMENT OF THE
              CASE, VOIR DIRE, AND JURY INSTRUCTIONS

         The Government has the following objections to the Court’s proposed statement of the

case, voir dire, and jury instructions.

Statement of the Case

         The Government objects to the following language in the proposed Statement of the Case:

“The October 7, 2021, deadline for producing documents was later moved to October 18, 2021.”

         The Indictment does not allege that the October 7, 2021, deadline was moved to October

18, 2021. The statement is an inaccurate summary of the allegations.

Voir Dire

         The Government objects to the following language on page 3 of the Court’s proposed voir

dire: “The October 7, 2021, deadline for producing documents was later moved to October 18,

2021.”

         The Indictment does not allege that the October 7, 2021, deadline was moved to October

18, 2021. The statement is an inaccurate summary of the allegations.

Jury Instructions

         The Government objects to proposed instruction 2.108, defining reasonable doubt, because

it provides the instruction used in Superior Court instead of the instruction that has been used in
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the U.S. District Court, as noted in the Redbook’s Comment to Instruction 2.108. The parties

requested, ECF No. 89 at 2, and the Government believes it is appropriate to use, the instruction

in the Comment that has been used in U.S. District Court. This instruction is as follows:

        The government has the burden of proving each defendant guilty beyond a reasonable
doubt as to each count or charge against him. Some of you may have served as jurors in civil cases,
where you were told that it is only necessary to prove that a fact is more likely than not true, which
we call the preponderance of the evidence. In criminal cases, the government’s proof must be more
powerful than that. It must be beyond a reasonable doubt.

        Proof beyond a reasonable doubt is proof that leaves you firmly convinced of the
defendant’s guilt. There are very few things in this world that we know with absolute certainty,
and in criminal cases the law does not require proof that overcomes every possible doubt. If, based
on your consideration of the evidence, you are firmly convinced that the defendant is guilty of the
crime charged, you must find him/her guilty. If, on the other hand, you think there is a real
possibility that a defendant is not guilty, you must give him/her the benefit of the doubt and find
him/her not guilty.

See Comment, Redbook Instr. 2.108.



                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               United States Attorney
                                               D.C. Bar No. 481052

                                       By:     /s/ Amanda R. Vaughn
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